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                EXHIBIT E
Bitfinex Announces Return of Seized Property to RRT Holders - Bitfinex blog
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            Bitfinex Announces Return of Seized
            Property to RRT Holders
            POSTED ON 06 JUL 2023 IN MEDIA RELEASES


            Road Town, British Virgin Islands, July 6, 2023 Bitfinex,
            (https://www.bitfinex.com/), a state-of-the-art digital asset trading platform, is
            pleased to announce that it has received $312,219.71 in cash and 6.917 BCH from
            the United States Department of Homeland Security (DHS). This is part of Bitfinex’s
            ongoing efforts, working with law enforcement and other investigation agencies, to
            recover assets stolen from the exchange in August 2016. The U.S. government
            continues to make progress in prosecuting individuals involved in the Bitfinex
            security breach and in seizing funds associated with the theft.

            The seizure was carried out by U.S. Customs and Border Protection, a law
            enforcement agency of the DHS. We thank the DHS for their ongoing commitment
            to recover assets stolen from Bitfinex and returning them to the exchange.

            “We are extremely pleased to be able to reach another successful milestone in the
            recovery of assets stolen from Bitfinex in 2016,” said Paolo Ardoino, Chief
            Technology Officer, Bitfinex.

            “This specific seizure demonstrates the commitment of law enforcement officials
            to diligently track all the proceeds of the crime committed against Bitfinex almost
            seven years ago. We look forward to recovering as much of the stolen bitcoin as we
            possibly can and redistributing that to holders of the tokens that were issued in
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            response to the hack in 2016.”

            Under the terms of Bitfinex’s contractual obligations to token holders, these
            amounts will be used to redeem Recovery Right Tokens (RRTs) issued by Bitfinex
            following the 2016 security breach. As there are currently 30 million RRTs in
            circulation, the amount recovered is not sufficient to redeem all RRT tokens.
            Pursuant to Bitfinex’s contractual commitments, all RRT holders must be
            redeemed at $1, following which up to 80 percent of any remaining recovered
            assets will be paid to UNUS SED LEO token holders.

            RRT holders will have their tokens redeemed pro rata by today, based on the size of
            their RRT holdings on July 6, 2023 at 12:00.01 am UTC

            Bitfinex continues to work with relevant law enforcement agencies and through the
            judicial system to recover property stolen from the exchange during the security
            breach.

            About Bitfinex

            Founded in 2012, Bitfinex is a digital token trading platform offering state-of-the-art
            services for traders and global liquidity providers. In addition to a suite of advanced
            trading features and charting tools, Bitfinex provides access to peer-to-peer
            financing, an OTC market and margin trading for a wide selection of digital tokens.
            Bitfinex’s strategy focuses on providing unparalleled support, tools, and innovation
            for experienced traders and liquidity providers around the world. Visit
            www.bitfinex.com to learn more.

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